









02-10-346-CV














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COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

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NO. 02-10-00346-CV 

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  Healthcore System Management, LLC
  
  
  &nbsp;
  
  
  APPELLANT
  
 
 
  
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  V.
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  Nhon Nguyen MD, Anh Nong MD, Inc.,
  Nhon Thi Nguyen, and Anh The Nong
  
  
  &nbsp;
  
  
  APPELLEES 
  
 


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FROM THE
342nd District Court OF Tarrant
COUNTY

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MEMORANDUM OPINION[1] AND
JUDGMENT

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On November
16, 2010, we notified appellant that the trial court clerk responsible for
preparing the record in this appeal had informed this court that arrangements
had not been made to pay for the clerk=s
record as required by Texas Rule of Appellate Procedure 35.3(a)(2).&nbsp; See Tex.
R. App. P. 35.3(a)(2).&nbsp;
We stated that we would dismiss the appeal for want of prosecution
unless appellant, within fifteen days, made arrangements to pay for the clerk=s
record and provided this court with proof of payment.

Because
appellant has not
made payment arrangements for the clerk=s
record, it is the opinion of the court that the appeal should be dismissed for
want of prosecution.&nbsp;&nbsp; Accordingly, we
dismiss the appeal.&nbsp; See Tex. R.
App. P. 37.3(b), 42.3(b).

Appellant
shall pay all costs of the appeal, for which let execution issue.

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; PER CURIAM

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PANEL:&nbsp; GABRIEL, J.;
LIVINGSTON, C.J.; and DAUPHINOT, J.

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DELIVERED:&nbsp; December 23, 2010











[1]See Tex. R. App. P. 47.4.







